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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE


DISPLAY TECHNOLOGIES, LLC,

                        Plaintiffs,

                V.                                    Civil Action No. 20-258-RGA

ASTON MARTIN, LLC,

                        Defendant.



                                             ORDER

        Plaintiff obtained a default (D.I. 12) and thereafter moved for a default judgment in this

patent case. (D.I. 17). Plaintiff's motion was accompanied by the affidavit of Leigh Rothschild,

a "principle" at Plaintiff. (Id.).

        Mr. Rothschild explained why he thought a "reasonable award of damages" would be

from $75,000 to $1,000,000. Mr. Rothschild cited in support "the attached preliminary claim

chart and evidence of use (Exhibit A)." (D.I. 17-1 ,r 5). No such Exhibit A was attached. The

only facts offered (without providing the underlying supporting documents) were that

Defendant's 2019 revenue was the equivalent of $1,290,000,000, citing its annual report, and

that patent licensing rates per "smallbusiness.chron.com" range from "3 to 6 percent of gross

sales." Mr. Rothschild continued that a "conservative 3 percent royalty rate" combined with

Defendant's use of the accused technology for at least five years would result in $10,000,000 in

damages, more or less. (Id. ,r 8). Mr. Rothschild's math is less reliable than his spelling. I would

think the minimum calculation using Mr. Rothschild's inputs should be $1,290,000,000 x .03 x 5

= $193,500,000.



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       Mr. Rothschild acknowledges that'the "accused technology" is less than the "entire

product base, as well as the fact that Plaintiff has been licensing the asserted patent(s) to other

parties." So he suggests a reduction from $10,000,000 to "$75,000 to $1,000,000." (Id. 19). I

think it is safe to say that the back of the envelope analysis is completely insufficient.

       Damages in a patent case are not easy to estimate or calculate. An expert gets paid

hundreds of thousand of dollars to justify numbers that are usually a few orders of magnitude

different from the other side's expert's calculation.

       Nevertheless, to effectuate judgment I need to determine the amount of damages. Fed. R.

Civ. P. 55(b)(2)(B). I am supposed to award "damages adequate to compensate for the

infringement, but in no event less than a reasonable royalty." 35 U.S.C. § 284,

       I asked Plaintiff for any settlement agreements in other cases filed in this District. I was

provided with three settlement agreements (D.I. 22), one of which was against a defendant who

m~es automobiles and two of which were against defendants who (I think) make stereo

systems. No settlement agreements were provided for four other cases (one of which had been

transferred to another district and one of which was against a defendant who came in and out of

bankruptcy during the case). Besides for the bankrupt and the transferee, the fact that the two

other cases-both with automobile manufacturer defendants-ended without settlement

agreements suggests that those cases ended essentially in "walk-away" agreements.

        The three settlement agreements that were provided averaged $19,167 as the amount of

the settlement. (Id.). Pretty clearly, both from the course of proceedings I have seen in the cases
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filed by Plaintiff in this District and from the proceedings in this particular case, Plaintiff's

business model does not involve actual litigation of cases, or the hiring of a damages expert. The

goal is simply a "nuisance-value" settlement. On the other hand, it would seem anomalous that a



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defendant who defaults should end up better off than a defendant who makes an appearance. A

judgment at the bottom of Plaintiffs suggested range (i.e., $75,000) is unsupported speculation.

But a settlement in line with the three settlement agreements (i.e., $20,000) seems to me to be

what would likely have happened had Defendant appeared.

       As much as I would like to enter a judgment for $20,000 and close this case, I cannot on

the basis of this record do so. While I think I have a better basis for determining the damages are

$20,000 than I would for Plaintiffs suggested range, it too is based on very little.

       So, I think the motion for default judgment must be denied for lack of proof of damages.

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    denial is without prejudice.

       I will give Plaintiff an option as to how it wants to proceed. For example, if it wants to

t~e discovery and develop a basis for a damages amount, I will permit that. Or, if it wants me

to1 enter a nominal judgment of $1, I will do that. Or, if it wants to dismiss the case, I will do
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that. Or perhaps it has some other possible plan.

       The motion for default judgment (D.I. 17) is DENIED without prejudice.

       Plaintiff is requested to submit a STATUS REPORT within TEN days explaining how it

wfnts to proceed.                     ~

       IT IS SO ORDERED this[.: day of August 2021.


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